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                                                                                                              Oct 31 2021


                                                                                                       CLERK, U.S. DISTRICT COURT
                                                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                      PROPOSED ORDER/COVER SHEET                                            SAN FRANCISCO


TO:             Honorable Thomas S. Hixson                            RE:     Tyler Revels
                U.S. Magistrate Judge

FROM:           Silvio Lugo, Chief                                    Docket No.:        3:21-cr-00403-VC
                U.S. Pretrial Services Officer

Date:           10/31/21

        THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

         Kim Do                                                                    (408) 535-5224

         U.S. Pretrial Services Officer                                      TELEPHONE NUMBER

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so that
we may comply with your instructions.

         I have reviewed the information that you have supplied. I do not believe that this matter requires any
         action by this Court at this time.

         Inform all parties concerned that I will conduct a Bail Review Hearing in Courtroom No.
           by Zoom
         ____________________          11/1/2021
                                   on ____________________            1:00 PM Judge Hixson
                                                                 at ____________________.

         Inform all parties concerned that a Bail Review Hearing will be conducted by:
         Magistrate Judge ____________________ Presiding District Court Judge ____________________

         I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s
         Pretrial Release conditions as indicated below:

         Modification(s)

         A.       __________________

         B.       __________________

         Bail Revoked/Bench Warrant Issued.

         I am returning the signed order and direct that a copy be provided to the Court file and all interested
         parties(AUSA and Defense Counsel).

         Other Instructions:

         _________________________________________________________________________________

         _________________________________________________________________________________

         _________________________________________________________________________________


                                                                 10/31/2021
         JUDICIAL OFFICER                                     DATE
         Thomas S. Hixson, U.S. Magistrate Judge
